                    UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                         NORTHERN DIVISION

                                 CRIM. NO.: 2:16-CR-30-D

UNITED STATES OF AMERICA                           )
                                                   )       ORDER OF DISMISSAL ·
v.                                                 )       COUNTS ONEAND THREE
                                                   )       OF INDICTMENT
KARLOS EDWARDO POOLE,                              )
    Defendant                                      )


      This matter having come before the Court by Motion of the United States

Attorney's Office to dismiss Counts One and Three of the Indictment and for good

cause shown, it is hereby ORDERED that Counts ONE and THREE of the Indictment
                                                            I
are hereby dismissed, without prejudice.

      IT IS SO ORDERED.

      This the   I 2-   day of     Jo. t> vo.N:j       I   2021.




                                           Ja:es C. Dever, III         _
                                         . United States District Court Judge




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